                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                   Plaintiff,

      v.                                                  Case No. 16-CR-117

ANTOINETTE CRUDUP,

                   Defendant.



   ORDER ADOPTING THE RECOMMENDATION (DKT. NO. 57); DENYING
    DEFENDANT’S MOTION TO SUPPRESS (DKT. NO. 41); AND SETTING
                           STATUS CONFERENCE
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      On November 15, 2016, Antoinette Crudup filed a motion to suppress

evidence on the ground that the search warrant executed at her residence

lacked probable cause. Dkt. No. 41. Magistrate Judge Nancy Joseph issued a

report and recommendation on the motion, dkt. no. 57, agreeing that the

search warrant lacked probable cause but recommending that the motion be

denied under the good faith exception pursuant to United States v. Leon, 468

U.S. 897 (1984). The defendant filed an objection to the recommendation, dkt.

no. 61, and the government has filed its response, dkt. no. 63. The court will

overrule the objection and deny the motion.

      Rule 59(b) governs dispositive motion practice initiated before magistrate

judges. Parties have fourteen days to file “specific written objections” to a

magistrate judge's report and recommendation on such a motion. Fed. R. Crim.

P. 59(b)(2). When reviewing a magistrate's recommendation, the district judge

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must review de novo the recommendations of the magistrate judge to which a

party timely objects. 28 U.S.C. §636(b)(1); Fed. R. Crim. P. 59(b)(2), (3). The

Court can “accept, reject, or modify, in whole or in part, the findings or

recommendations made by the magistrate.” Id.

      Milwaukee County Detective Eugene Nagler prepared the affidavit in

support of the search warrant. Dkt. No. 41-4. According to Nagler, his nineteen

years of experience as a law enforcement officer and his training in the

investigation of drug trafficking taught him that parcels sent from California to

Milwaukee – using fictitious addresses – “commonly contain narcotics.” Id. at

4. Nagler described the steps taken by traffickers to track the packages and

have them delivered to a “drop house” to conceal the identity of the dealer. Id.

at 4-5.

      A local postal inspector noticed a “number of suspicious parcels coming

from Oakland, CA being sent to 936 W. Meinecke & 2942 N. 2nd St Milwaukee,

WI.” Id. at 6, ¶10. At least eleven of these parcels were addressed to Tiawan

Gilchrist at 936 Meinecke St. Id. Additionally, three parcels were sent from

Tiawan Gilchrist, 936 Meiecke, Apt. 3, to Lorenzo Page, 2700 79th St., Oakland,

CA. Id. at ¶12. A drug detection K-9 alerted to a parcel addressed to Page from

Gilchrest, and the execution of search warrant revealed that the parcel

contained $9,000. Id. at ¶13. The affidavit documented additional ties between

Page and Gilchrist, id. at pp. 7-8, and asserted that a fellow officer had

information that Gilchrest was selling drugs (cocaine, heroin, and marijuana)

from 936 W. Meinecke, id. at p. 6, ¶25.


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      The same affidavit identified a suspicious parcel delivered to Antoinette

Crudup at 2942 N. 2nd St., Apt. 206, in Milwaukee. Id. at p. 5, ¶18. An “open

source check of the internet” revealed that Crudup refers to Gilchrest as her

“Bae” and “Lover.” Id. at p. 7, ¶19. Nagler confirmed that records indicated that

Crudup lives at 2942 N. 2nd St. Milwaukee, WI. Id. at ¶¶ 22, 23. No other

paragraphs in the affidavit refer to Crudup.

      In her objection, Crudup argues that Nagler’s affidavit failed to show

probable cause because it contained “vague allusions to ‘suspicious parcels’

being sent from Oakland to Crudup, without any description or explanation of

why they were considered suspicious” or who sent the parcels to Crudup. Dkt.

No. 61 at 2. Magistrate Judge Joseph agreed with Crudup that the affidavit

failed to demonstrate probable cause. Dkt. No. 57 at 4. According to Judge

Joseph, officers attempted to “back door” probable cause to the residence

through Crudup’s romantic relationship with Gilchrist and because Gilchrist

received suspicious packages similar to those sent between Gilchrist and

another co-defendant. Id. at 5.

      Probable cause exists when, based on the totality of the circumstances,

the affidavit sets forth sufficient evidence to induce a reasonably prudent

person to believe that a search will uncover evidence of a crime. See Illinois v.

Gates, 462 U.S. 213, 238 (1983); United States v. Jones, 208 F.3d 603, 608

(7th Cir. 2000). Here, the supporting affidavit established probable cause as to

Gilchrist and Page, but not as to Crudup. Nagler focused on the packages sent

between Gilchrist and Page in Oakland, California. The detection dog alerted to


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the package sent between Gilchrist and Page, and there was evidence that

Gilchrist was selling drugs. The dog did not, however, alert to any package sent

to Crudup, and nothing linked Crudup to Gilchrist and Page. The affidavit is

limited to allegations that the suspicious packages to Crudup were similar in

size and weight to those delivered to Gilchrist and that an internet search

revealed that Crudup references Gilchrest as her “Bae” and “Lover.” Those

allegations, without more, are insufficient to establish probable cause as to

Crudup.

      Despite the fact that the affidavit did not show probable cause as to the

defendant, however, Judge Joseph concluded that the good faith exception

articulated in United States v. Leon, 468 U.S. 897 (1984), applied. In Leon, the

Supreme Court ruled that evidence seized pursuant to a deficient warrant

should not be suppressed if the officers involved were relying in good faith on

the decision of the issuer of the warrant. Id. at 924. The decision to obtain a

warrant is deemed to be prima facie evidence that an officer was acting in good

faith. United States v. Otero, 495 F.3d 393, 398 (7th Cir.2007). To rebut this

prima facie evidence that the officer was acting in good faith, the defendant

must show one of three things: 1) the issuing judge abandoned his or her

detached and neutral role; 2) the law enforcement officers were dishonest or

reckless when preparing the affidavit; or 3) the warrant was so lacking in

probable cause that the officer’s belief in the existence of probable cause was

entirely unreasonable. United States v. Garcia, 528 F.3d 481, 487 (7th Cir.

2008). None of these circumstances are present are present here. It was not


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unreasonable for the officers to believe that they had established probable

cause in the forty-six-paragraph affidavit, based on Nagler’s experience with

drug trafficking and the suspicious activity uncovered by the postal inspector

and surveillance. The court agrees with Magistrate Judge Joseph’s conclusion.

      The court ADOPTS the recommendation of the magistrate judge

regarding Antoinette Crudup’s motion to suppress. Dkt. No. 57. The court

DENIES the motion to suppress. Dkt. No. 41. The court ORDERS that the

parties shall appear for a status conference on Tuesday, April 4, 2017 at 2:15

p.m. by telephone. Parties wishing to appear by telephone may do so by calling

the court’s conference line at 1-888-557-8511, and entering passcode

4893665#.

      Dated in Milwaukee, Wisconsin, this 21st day of March, 2017.




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